              Case 2:11-cr-00119-WBS Document 237 Filed 03/16/16 Page 1 of 2


 1   Tim A. Pori (SBN 189270)
     LAW OFFICES OF TIM A. PORI
 2
     521 Georgia Street
 3   Vallejo, CA 94590
     Telephone: (707) 644-4004
 4   Facsimile: (707) 644-7528
 5
     Attorneys for Defendant JORGE SANDOVAL
 6

 7                                UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,           )
                                         )                 Case No. 2:11-cr-00119-04 WBS
12                     Plaintiff,        )
                                         )                 STIPULATION AND [PROPOSED]
13
           vs.                           )                 ORDER TO CONTINUE THE
14                                       )                 SENTENCING HEARING
     JORGE SANDOVAL,                     )
15                                       )
                       Defendants.       )
16
     ____________________________________/
17
            The parties hereby stipulate that the sentencing in this case be continued from Monday
18

19
     March 21, 2016, at 9:00 a.m. until April 25, 2016 at 9:00a.m.

20          For these reasons, the defendant agrees to a continuance. Therefore the parties have
21   stipulated to continue the sentencing hearing in this case.
22
                                                           Respectfully submitted
23
                                                           LAW OFFICES OF TIM A. PORI
24

25   Date: March 14, 2016                          /s/ Tim A. Pori_______________
                                                           TIM A. PORI
26                                                         Attorney for Defendant SANDOVAL
27

28

                                                          1
             Case 2:11-cr-00119-WBS Document 237 Filed 03/16/16 Page 2 of 2


 1   Date: March 14, 2016                          /s/ Jason Hitt_________________
                                                           JASON HITT
 2
                                                           Assistant United States Attorney
 3

 4

 5
                                                     ORDER

 6           IT IS HEREBY ORDERED that the Sentencing hearing in the above-entitled matter is
 7   continued until April 25, 2016 at 9:00 a.m.
 8
     Dated: March 16, 2016
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         2
